                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:11-cr-9
v.                                                   )
                                                     )       COLLIER / LEE
RACHEL CASEY                                         )

                                            ORDER


       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Count Three of the four-count

Indictment (2) accept Defendant’s plea of guilty to Count Three of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count Three of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) Defendant has been released on bond

under appropriate conditions of release pending sentencing in this matter (Court File No. 64).

Neither party filed a timely objection to the report and recommendation. After reviewing the record,

the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File No. 64)

pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw her not guilty plea to Count Three of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to Count Three of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count Three of

               the Indictment;




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      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

            pending sentencing in this matter, which is scheduled to take place on Thursday,

            September 8, 2011 at 9:00 a.m. [EASTERN] before the Honorable Curtis L.

            Collier.

      SO ORDERED.

      ENTER:

                                         /s/
                                         CURTIS L. COLLIER
                                         CHIEF UNITED STATES DISTRICT JUDGE




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